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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



COMMONWEALTH OF PENNSYLVANIA,                     :    Civil Action No. 2:24-cv-05853-JFM
BY ATTORNEY GENERAL,                              :
DAVID W. SUNDAY, JR.                              :
                                                  :
                     Plaintiff,                   :    Honorable John F. Murphy
                                                  :
PROSPECT MEDICAL HOLDINGS, INC.,                  :
PROSPECT CROZER, LLC,                             :    Electronically Filed
LEONARD GREEN AND PARTNERS,                       :
SAMUEL LEE, INDIVIDUALLY, and                     :
DAVID TOPPER, INDIVIDUALLY,                       :
                                                  :
                     Defendants.                  :



                Order to Dismiss under Federal Rule of Civil Procedure 41


TO THE CLERK OF THE COURT:

       Pursuant to the Federal Rule of Civil Procedure 41, the Commonwealth of Pennsylvania,

acting as parens patriae through its Attorney General, David W. Sunday, Jr. (“Commonwealth”),

hereby moves to dismiss its claims against Defendant Leonard Green and Partners (“Leonard

Green”).




                                                         BY THE COURT:


                                                         ___________________________
                                                         Murphy, U.S.D.J.
